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                                                        -1-
                             Nebraska Court of Appeals Advance Sheets
                                  30 Nebraska Appellate Reports
                                           KIER v. COUNTY OF HALL
                                              Cite as 30 Neb. App. 1



                                Melissa Kier and the Fraternal Order
                                 of Police, Lodge #10, appellants, v.
                                      County of Hall, Nebraska,
                                           et al., appellees.
                                                  ___ N.W.2d ___

                                        Filed June 22, 2021.   No. A-20-550.

                 1. Administrative Law: Appeal and Error. In reviewing an administra-
                    tive agency decision on a petition in error, both the district court and
                    the appellate court review the decision to determine whether the agency
                    acted within its jurisdiction and whether sufficient, relevant evidence
                    supports the decision of the agency.
                 2. Administrative Law: Evidence. The evidence is sufficient, as a matter
                    of law, if an administrative tribunal could reasonably find the facts as
                    it did on the basis of the testimony and exhibits contained in the record
                    before it.
                 3. Administrative Law: Appeal and Error. The reviewing court in an
                    error proceeding is restricted to the record before the administrative
                    agency and does not reweigh evidence or make independent findings
                    of fact.
                 4. Administrative Law: Judgments: Words and Phrases. An adminis-
                    trative agency decision must not be arbitrary and capricious. Agency
                    action is “arbitrary and capricious” if it is taken in disregard of the facts
                    or circumstances of the case, without some basis which would lead a
                    reasonable and honest person to the same conclusion.
                 5. Contracts. In interpreting a contract, a court must first determine, as a
                    matter of law, whether the contract is ambiguous.
                 6. Contracts: Words and Phrases. A contract is ambiguous when a word,
                    phrase, or provision in the contract has, or is susceptible of, at least two
                    reasonable but conflicting interpretations or meanings.
                 7. Contracts. When the terms of a contract are clear, a court may not
                    resort to rules of construction, and the terms are to be accorded their
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            Nebraska Court of Appeals Advance Sheets
                 30 Nebraska Appellate Reports
                           KIER v. COUNTY OF HALL
                              Cite as 30 Neb. App. 1
       plain and ordinary meaning as an ordinary or reasonable person would
       understand them.
 8.    ____. The fact that the parties have suggested opposing meanings of a
       disputed instrument does not necessarily compel the conclusion that the
       instrument is ambiguous.
 9.    Contracts: Evidence. A contract found to be ambiguous presents a
       question of fact and permits the consideration of extrinsic evidence to
       determine the meaning of the contract.
10.    Contracts. A contract must receive a reasonable construction and must
       be construed as a whole.
11.    ____. If possible, effect must be given to every part of a contract.
12.    ____. A court is not free to rewrite a contract or to speculate as to terms
       of the contract which the parties have not seen fit to include.
13.    Contracts: Intent. A court should avoid interpreting contract provisions
       in a manner that leads to unreasonable or absurd results that are obvi-
       ously inconsistent with the parties’ intent.
14.    Appeal and Error. An appellate court is not obligated to engage in an
       analysis that is not necessary to adjudicate the case and controversy
       before it.

 Appeal from the District Court for Hall County: John H.
Marsh, Judge. Affirmed.
  Thomas P. McCarty and Gary L. Young, of Keating, O’Gara,
Nedved &amp; Peter, P.C., L.L.O., for appellants.
  Ashley H. Connell and Pamela J. Bourne, of Woods Aitken,
L.L.P., for appellees.
      Pirtle, Chief Judge, and Arterburn and Welch, Judges.
   Pirtle, Chief Judge.
                      INTRODUCTION
   This case involves an employment relationship between
the Hall County Sheriff’s Department (the Department) and
Melissa Kier, a deputy sheriff. Kier and the Fraternal Order
of Police, Lodge #10 (FOP #10), filed a grievance concern-
ing the application of shift-bidding provisions in each appli-
cable collective bargaining agreement (CBA) that governed
the employment relationship. This dispute centers on whether
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                    KIER v. COUNTY OF HALL
                       Cite as 30 Neb. App. 1
the Hall County Sheriff’s Department Merit Commission
(Merit Commission) properly interpreted and applied provi-
sions of each CBA, as well as the Merit Commission’s own
regulations. Kier and FOP #10 appeal from the order of the
district court for Hall County, which affirmed the decision of
the Merit Commission. We affirm.
                       BACKGROUND
                             CBA’s
   Kier is employed as a deputy sheriff with the Department.
FOP #10 is a “[l]abor organization” as defined in Neb. Rev.
Stat. § 48-801(7) (Cum. Supp. 2020) and is the collective bar-
gaining representative for the Department. Rick Conrad, the
elected sheriff of Hall County, is the personnel director for
the Department.
   The Department and FOP #10 entered into a CBA, effec-
tive from July 1, 2016, to June 20, 2019, which controlled the
wages and employment conditions of deputy sheriffs employed
by the Department. Subsequently, the Department and FOP
#10 entered an amendment to the CBA, which added a “shift
bidding” provision to the agreement. When the 2016-19 CBA
expired, the Department and FOP #10 entered into a second
agreement, with terms that were identical to the prior agree-
ment. The second CBA was to be effective from July 1, 2019,
to June 30, 2021.
   The shift-bidding provision of the CBA’s provided that,
except for certain excludable positions within the Department,
“all bargaining unit position work shifts and days off, will
be open for bid on an annual basis” and “[e]mployees will
be allowed to select work shifts and days off . . . based on
seniority.” Under this provision, the Department was required
to annually create and approve a schedule containing available
work shifts, and FOP #10 would then conduct a bid for the
shifts according to seniority. Following the completion of the
bidding process, FOP #10 was to return the results of the bid to
the Department for implementation.
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                    KIER v. COUNTY OF HALL
                       Cite as 30 Neb. App. 1
   In addition to the shift-bidding provision, the CBA’s pro-
vided that the elected sheriff would retain certain management
rights over the Department. Article III of each CBA stated
that “[a]ll management rights, functions, responsibilities, and
authority not specifically limited by the express terms of this
Agreement are retained by the Sheriff and remain exclusively
within the rights of the Sheriff.” The CBA’s enumerated spe-
cific rights retained by management, including “[t]he right to
direct and arrange work forces[,] including the right to hire,
examine, classify, promote, train, transfer, assign, and retain
employees[.]” The CBA’s provided that if the sheriff trans-
fers an employee from one shift to another, at least 30 days’
advance notice must be provided.
   Kier began working for the Department in December 2014
as a deputy sheriff. The terms and provisions of the CBA’s
applied to Kier’s employment. At all relevant times, there were
three potential shifts in the Department: day shift (6 a.m. to
4 p.m.), swing shift (2 p.m. to 12 a.m.), and night shift (8 p.m.
to 6 a.m.).

                 2018 Annual Shift Bid and
                  Kier’s Performance Issues
   Kier began working the night shift in August 2018, follow-
ing the annual shift bid. Prior to that date, she had worked
the day shift. The record shows that after Kier began to work
the night shift, the Department documented several incidents
where Kier was counseled for “unacceptable or unsatisfactory
work performance, which [had] resulted in two letters of repri-
mand.” These incidents are summarized below.
   On August 9, 2018, Kier handled an assault investigation,
during which she failed to interview all the victims and wit-
nesses, submitted only one report in narrative form, and failed
to issue any citations or referrals, contrary to the Department’s
protocol. On August 15, the Department counseled Kier for a
continued failure to complete and submit “workload tables”
in a timely manner. Workload tables are the Department’s
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                    KIER v. COUNTY OF HALL
                       Cite as 30 Neb. App. 1
payroll records and are used to track the number of hours
worked by each deputy sheriff.
   In mid-August, Kier taught a “Basic Life Support CPR”
class. This class is a prerequisite for deputy sheriffs hoping
to receive certification from the Nebraska Law Enforcement
Training Center. However, the class taught by Kier did not
meet the proper requirements, which caused qualification
issues for the deputies who had taken the class. On August 27,
2018, Kier failed to turn in the Department’s monthly police
quiz on time.
   On October 9, 2018, the Department counseled Kier for
mistakes made on an accident investigation report. Specifically,
Kier had listed the wrong person as the injured party. On
October 15, Kier was again counseled for failing to submit
documentation in a timely manner.
   On January 10, 2019, the Department counseled Kier for her
failure to properly fill out reports on numerous occasions. On
one occasion, Kier failed to stop a driver suspected of a weap-
ons offense because she failed to properly turn on her police
vehicle’s emergency lights. On January 19, the Department
counseled Kier due to an incomplete report that contained sev-
eral errors.
   On February 11, 2019, the Department issued Kier a formal
letter of reprimand “due to [her] repeated errors in [her] work-
load table.” On February 14, Kier was again counseled for
incomplete workload tables.
   On February 20, 2019, Kier was counseled after the
Department found several items in her work mailbox that she
had left unaddressed for several weeks. These items included
the following: (1) documents related to an ongoing investiga-
tion that Kier had failed to log as evidence, although they had
been in her possession since December 2018; (2) a citation
from May 2018 in which Kier had failed to correct errors; (3)
an out-of-county arrest warrant that had been in Kier’s mail-
box for over 3 months that she had failed to serve; and (4) a
document that Kier had failed to timely return to the Nebraska
Department of Motor Vehicles.
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                    KIER v. COUNTY OF HALL
                       Cite as 30 Neb. App. 1
   On March 1, 2019, Kier received another letter of reprimand
for her ongoing performance issues and continued failure to
complete and submit workload tables in a timely manner. On
March 9, Kier failed to adequately complete an accident report,
and she failed to submit a corrected report when asked to do
so by supervisors.
   On April 9, 2019, Conrad and other supervisors within the
Department met with Kier to discuss her work performance
issues. Kier acknowledged her deficiencies and explained that
she was having “issues sleeping” and other “personal issues”
that were affecting her job performance.
   On May 7, 2019, the Department counseled Kier regard-
ing her unsatisfactory performance related to a missing per-
son investigation. The record shows that Kier interviewed all
potential suspects collectively, rather than individually, and
that she received pertinent information regarding the location
of the missing person but failed to act upon it.
   On May 14, 2019, Conrad and other supervisors again met
with Kier. They notified Kier that due to her poor performance
since starting to work the night shift in August 2018, the
Department had decided it was necessary to transfer her to the
day shift. Conrad explained to Kier that she would be able to
“serve the [D]epartment more effectively,” since “[d]ayshift
work assignments are more structured and typically have more
supervision.” Kier did not file a grievance following the May
2019 decision to transfer her to the day shift.

             2019 Annual Shift Bid and Rebid
   In June 2019, Kier and other deputy sheriffs working for
the Department submitted their shift bids in accordance with
the amended 2016-19 CBA. Kier submitted a bid for the
swing shift. At the end of June 2019, a deputy sheriff left the
Department, which required a rebidding of shifts.
   On June 7, 2019, Conrad sent Kier a letter regarding the
annual shift bid, which stated that the Department had trans-
ferred Kier to the day shift following the May 14 meeting
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                    KIER v. COUNTY OF HALL
                       Cite as 30 Neb. App. 1
and that it had been brought to the Department’s attention that
Kier placed a bid on the swing shift, which “would go against
the decision made on May 14, 2019.” Conrad then requested
that in the rebidding process, Kier “limit [her] scope to the
available day shift positions.”
   Conrad instructed FOP #10 that, following the departure of
the deputy sheriff, a rebid should be conducted according to
seniority. However, he advised FOP #10 that Kier should be
placed in a day shift slot, regardless of seniority.

           Merit Commission Decision and Appeal
   Kier and FOP #10 timely grieved Conrad’s June 7, 2019,
letter, which limited Kier’s scope in the rebidding process
to “available day shifts only.” Kier and FOP #10 argued that
Conrad’s decision violated the shift-bidding provisions of the
CBA’s because it prevented her from bidding based on her
seniority for a swing shift or a night shift. Kier and FOP #10
requested that all deputy sheriffs be immediately permitted to
resubmit their shift bids based on seniority, and they further
requested that Conrad’s letter be rescinded and removed from
Kier’s personnel file.
   No satisfactory settlement was reached between the par-
ties during any step of the formal grievance process. Kier and
FOP #10 then timely filed a grievance appeal with the Merit
Commission in accordance with the terms of the CBA’s and
with Neb. Rev. Stat. § 23-1734 (Reissue 2012). The Merit
Commission held a hearing on the grievance on November 14,
2019. At the hearing, the Merit Commission received exhibits
and listened to sworn testimony. Following the hearing, the
parties submitted written closing arguments.
   The Merit Commission issued a written decision on
December 4, 2019. The decision found that (1) the Merit
Commission had jurisdiction to hear the grievance appeal pur-
suant to § 23-1734(2) and pursuant to the grievance procedures
set forth in the CBA’s; (2) the Department and Conrad did not
have the authority to restrict Kier from shift bidding based
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                    KIER v. COUNTY OF HALL
                       Cite as 30 Neb. App. 1
upon seniority; (3) Conrad’s letter to Kier should be removed
from Kier’s personnel file; and (4) the Department’s employ-
ees, including Kier, should be immediately permitted to rebid
for their shifts.
   In addition to these findings, the Merit Commission took
notice of article IX of the regulations of the Merit Commission,
which stated:
         Paragraph 2 - The Sheriff may, in the Sheriff’s discre-
      tion, transfer classified personnel from one division to
      another. A transfer from one division to another shall not
      be considered as a promotion or demotion. The Sheriff
      may, at his discretion, transfer classified personnel from
      one shift to another.
         Paragraph 3 - A transfer from one shift to another shift
      shall not be considered a promotion or demotion.
   In its written decision, the Merit Commission went on
to explain:
      Accordingly, the Sheriff of Hall County retains the right
      to transfer Deputies from one shift to another accord-
      ing to the Merit Commission regulations. The Sheriff
      and the FOP #10 on their own cannot ignore the Merit
      Commission rules and regulations in the collective bar-
      gaining process. If a different result was desired, the
      Sheriff or the FOP #10 could have requested a change in
      the Merit Com­mission rules and regulations for consider-
      ation by the Merit Commission after following the proper
      procedure for amending such rules . . . .
   Therefore, although the Merit Commission found that Conrad
and the Department could not restrict Kier from shift bidding
based upon seniority, it determined that Conrad’s management
rights allowed him to transfer Kier from one shift to another
following the completion of the bidding process.
   On December 23, 2019, Kier and FOP #10 filed a petition
in error in the district court for Hall County, seeking review
of the Merit Commission’s written decision. The petition in
error alleged that the Merit Commission erred in finding that
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                     KIER v. COUNTY OF HALL
                        Cite as 30 Neb. App. 1
Conrad had discretion to transfer deputy sheriffs from one
shift to another. Kier and FOP #10 alleged that the Merit
Commission had erred because it (1) had improperly taken
judicial notice of its own regulations, (2) had improperly inter-
preted and applied the relevant provisions in the regulations,
(3) lacked statutory authority to adopt and apply the regula-
tions, (4) had exceeded its statutory authority, and (5) failed to
properly interpret or apply the provisions of the CBA’s. Kier
and FOP #10 further alleged that the Merit Commission’s writ-
ten decision was not supported by sufficient evidence and/or
was arbitrary and capricious.
   The district court held a hearing on the petition in error and
issued a written order on July 9, 2020, rejecting all of Kier
and FOP #10’s assignments of error. The district court held
that the Merit Commission had acted within its jurisdiction
and statutory authority, that its written decision was supported
by sufficient evidence, and that the decision was neither arbi-
trary nor capricious. The district court further found that even
without consideration of the Merit Commission’s regulations,
the CBA’s themselves gave the sheriff the right to “direct and
arrange workforces including the right to transfer employees.”
For these reasons, the district court affirmed the decision of the
Merit Commission.
   Kier and FOP #10 now appeal the order of the district court.
                  ASSIGNMENTS OF ERROR
   Kier and FOP #10 assign, restated and reordered, that the
district court erred in (1) holding that the management rights
provisions in the CBA’s take precedence over the shift-bidding
provisions and (2) holding that the Merit Commission’s regula-
tions take precedence over the shift-bidding provisions.
                  STANDARD OF REVIEW
   [1-3] In reviewing an administrative agency decision on
a petition in error, both the district court and the appellate
court review the decision to determine whether the agency
acted within its jurisdiction and whether sufficient, relevant
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                     KIER v. COUNTY OF HALL
                        Cite as 30 Neb. App. 1
evidence supports the decision of the agency. Douglas County
v. Archie, 295 Neb. 674, 891 N.W.2d 93 (2017). The evidence
is sufficient, as a matter of law, if an administrative tribunal
could reasonably find the facts as it did on the basis of the
testimony and exhibits contained in the record before it. Id.The reviewing court in an error proceeding is restricted to the
record before the administrative agency and does not reweigh
evidence or make independent findings of fact. Id.   [4] An administrative agency decision must not be arbitrary
and capricious. Id. Agency action is “arbitrary and capricious”
if it is taken in disregard of the facts or circumstances of the
case, without some basis which would lead a reasonable and
honest person to the same conclusion. Id.
                           ANALYSIS
               Management Rights Provisions
   Kier and FOP #10 assign that the district court erred when it
found that the management rights provisions in article III of the
CBA’s gave Conrad the discretion to arrange workforces and
transfer employees, notwithstanding the results of an annual
shift bid. With respect to this issue, the district court found that
the terms of the CBA’s “prohibit[ed] the sheriff from restrict-
ing or preventing a deputy from shift bidding according to the
applicable [CBA],” but that the sheriff “retain[ed] the right to
transfer deputies from one shift to another.” Kier and FOP #10
argue that in reaching this conclusion, the district court erred
as a matter of law in failing to apply the plain language of the
CBA’s to this case.
   Kier and FOP #10 argue that the Merit Commission and
district court erred in overlooking certain portions of the
CBA’s that they contend limit the sheriff’s management rights,
including the right to transfer deputy sheriffs from one shift to
another. They argue that when the CBA’s are properly read as
a whole, the plain language of the CBA’s prohibited Conrad
from “disregarding an employee’s chosen shift due to work
perform­ance issues.” Brief for appellants at 24.
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                     KIER v. COUNTY OF HALL
                        Cite as 30 Neb. App. 1
   [5-9] In interpreting a contract, a court must first determine,
as a matter of law, whether the contract is ambiguous. Bierman
v. Benjamin, 305 Neb. 860, 943 N.W.2d 269 (2020). A contract
is ambiguous when a word, phrase, or provision in the contract
has, or is susceptible of, at least two reasonable but conflicting
interpretations or meanings. Id. When the terms of a contract
are clear, a court may not resort to rules of construction, and
the terms are to be accorded their plain and ordinary meaning
as an ordinary or reasonable person would understand them.
Id. The fact that the parties have suggested opposing meanings
of a disputed instrument does not necessarily compel the con-
clusion that the instrument is ambiguous. Id. A contract found
to be ambiguous presents a question of fact and permits the
consideration of extrinsic evidence to determine the meaning
of the contract. Id.   [10-13] In addition, a contract must receive a reasonable
construction and must be construed as a whole. Equestrian
Ridge v. Equestrian Ridge Estates II, 308 Neb. 128, 953
N.W.2d 16 (2021). And, if possible, effect must be given to
every part of a contract. Id. A court is not free to rewrite a
contract or to speculate as to terms of the contract which the
parties have not seen fit to include. Id. A court should avoid
interpreting contract provisions in a manner that leads to unrea-
sonable or absurd results that are obviously inconsistent with
the parties’ intent. Id.   In this case, Kier and FOP #10 do not deny that article III
of each CBA reserved certain management rights to Conrad as
personnel director of the Department. They acknowledge the
provision which states that “[a]ll management rights, functions,
responsibilities, and authority not specifically limited by the
express terms of this Agreement are retained by the Sheriff and
remain exclusively within the rights of the Sheriff.”
   However, Kier and FOP #10 suggest that Conrad’s manage-
ment rights, specifically his right to transfer deputy sheriffs
from one shift to another, were limited by other terms of the
CBA’s. In support, Kier and FOP #10 point to portions of
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        Nebraska Court of Appeals Advance Sheets
             30 Nebraska Appellate Reports
                    KIER v. COUNTY OF HALL
                       Cite as 30 Neb. App. 1
the CBA’s that provide that during “an emergency as declared
by the Sheriff,” the sheriff shall have discretion to establish
shifts, hours, and duties; and also to a different provision
related to temporary reassignment of a deputy sheriff to cover
for vacation and sick leave. Finally, Kier and FOP #10 refer-
ence a provision permitting two employees to trade their work
schedules. According to Kier and FOP #10’s suggested inter-
pretation, these three circumstances are the only ones in which
the Department may disregard a deputy sheriff’s chosen shift
bid and transfer them to a different shift.
   Reading the CBA’s as a whole, we do not find Kier and
FOP #10’s argument to be persuasive. Nothing about the three
provisions referenced above indicates that they are the sole
circumstances under which the sheriff may transfer a deputy
sheriff to a new shift. Nor does the language of the three
provisions referenced by Kier and FOP #10 specifically elimi-
nate or limit the sheriff’s right to transfer employees from
shift to shift, which is explicitly enumerated in article III of
the CBA’s.
   To the contrary, the CBA’s demonstrate that the parties
specifically contemplated the sheriff’s ability to transfer a
deputy sheriff to a new shift. Not only do the CBA’s grant the
sheriff the right to transfer employees, the CBA’s addition-
ally prescribe a procedure by which such a transfer must be
effected. The CBA’s state that “[t]he Department shall not
change the work schedule, work shift, job or assignment of
an employee . . . without providing such employees at least
thirty (30) days advance notice of the change of work sched-
ule, work shift, or job.” We note that in this case, Conrad did
provide Kier the requisite 30 days’ notice via a written letter,
which Kier acknowledged with her signature. We further note
that Kier never instituted grievance proceedings following this
notice of transfer; rather, proceedings in this case were origi-
nally focused on whether Conrad had the right to prevent Kier
from shift bidding entirely—a question which was resolved in
Kier and FOP #10’s favor.
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        Nebraska Court of Appeals Advance Sheets
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                     KIER v. COUNTY OF HALL
                        Cite as 30 Neb. App. 1
   Although Kier and FOP #10 correctly point out that some
provisions of the CBA’s make reference to particular ­scenarios
under which the sheriff may transfer an employee, noth-
ing about those provisions suggests that they are the only
circumstances under which a transfer may be made. Rather,
they apply to special circumstances (e.g., emergencies) when
the typical transfer procedures, including 30 days’ advance
notice, might not be practical. We do not read the provisions
related to emergencies, temporary reassignment, or voluntary
shift trades to be inconsistent with the sheriff’s general right
to transfer employees from shift to shift. Indeed, under the
interpretation of the CBA’s advocated by Kier and FOP #10,
the management rights provisions in article III would be effec-
tively mooted.
   To ignore provisions of the CBA’s would be contrary to the
purpose of the parties and contrary to Nebraska precedent.
A contract must be construed as a whole, and effect must be
given to every part of a contract if possible. See Equestrian
Ridge v. Equestrian Ridge Estates II, 308 Neb. 128, 953
N.W.2d 16 (2021). It would be nonsensical for this court to
ignore a provision which grants the sheriff the right to transfer
employees from shift to shift and instead hold that the same
provision is without effect simply because other sections of the
CBA’s also concern changes to employee work schedules. Both
the Merit Commission and the district court gave every provi-
sion in the CBA’s full effect in determining that Conrad had no
right to interfere with the annual shift-bidding process, but also
finding that Conrad retained all management rights that were
not explicitly limited within the contract.
   We conclude that the district court correctly applied the plain
language of the CBA’s to this case. Under article III of the
CBA’s, the sheriff retains certain management rights, including
the right to transfer deputy sheriffs from one shift to another;
the CBA’s further prescribe a procedure by which the sheriff
may effect such a transfer. No other provision in the CBA’s
specifically limits this right. This argument fails.
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        Nebraska Court of Appeals Advance Sheets
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                     KIER v. COUNTY OF HALL
                        Cite as 30 Neb. App. 1
                 Merit Commission Regulations
    Kier and FOP #10 assign that the district court erred in
holding that the Merit Commission acted within its jurisdic-
tion in interpreting and applying its regulations to this case
and denying the grievance. They argue that this is error for
three reasons: (1) the shift-bidding provisions do not violate
a statutory directive and are therefore valid, (2) the Merit
Commission’s regulations did not bar the Department from
contracting with respect to the shift-bidding provisions, and (3)
the Merit Commission’s regulations exceed the Commission’s
statutory rulemaking authority and are, therefore, invalid.
    [14] However, because we have already determined that the
district court was correct in its conclusion that the terms of the
CBA’s themselves gave Conrad the right to transfer Kier from
shift to shift, we need not consider this assignment of error. An
appellate court is not obligated to engage in an analysis that
is not necessary to adjudicate the case and controversy before
it. AVG Partners I v. Genesis Health Clubs, 307 Neb. 47, 948
N.W.2d 212 (2020).

                         CONCLUSION
   We conclude that the district court did not err in affirm-
ing the decision of the Merit Commission which ordered the
Department to conduct an immediate shift rebid and to permit
Kier to fully participate in the process, but which concluded
that Conrad retained the right to transfer deputy sheriffs from
shift to shift. We conclude that the terms of the CBA’s entered
into by the parties gave Conrad the power to transfer his
employees from shift to shift. For that reason, we do not reach
the issue of whether the regulations of the Merit Commission
likewise authorized the sheriff to make such transfers. The
judgment of the district court is affirmed.
                                                   Affirmed.
